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EXHIBIT N

 

Page 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT

OF MARYLAND

x * * * & kk k *

CONSTANCE COLLINS, et al., *
Plaintiff * Case No.
vs. * 1:20-CV-01225
TRI-STATE ZOOLOGICAL PARK *
OF WESTERN MARYLAND, *
INC., et al., *
Defendant *

x * * * & kk k *

DEPOSITION OF
RELLA MOON

August 10, 2021

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Page 2

DEPOSITION
OF

RELLA MOON, taken on behalf of the Plaintiff herein,
pursuant to the Rules of Civil Procedure, taken before
me, the undersigned, Bernadette Black, a Court Reporter
and Notary Public in and for the State of Maryland, at
the offices Hampton Inn Cumberland, 109 Welton Drive,
Cumberland, Maryland, on August 10, 2021 beginning at

11:10 a.m.

 

 

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A P PEARANCE 5

ZEYNEP GRAVES, ESQUIRE
JAMES ERSELIUS, ESQUIRE
CAITLIN HAWKS, ESQUIRE
Peta Foundation

2154 West Sunset Boulevard
Los Angeles, CA 90026

COUNSEL FOR PLAINTIFF

NEVIN YOUNG, ESQUIRE
Burlington & Young
170 West Street
Annapolis, MD 21401

COUNSEL FOR DEFENDANT

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ATTORNEY YOUNG:

Is there a way --- maybe it would work
better if we just quickly set up a Zoom between one of
you and me and maybe I can hear it that way, over the
computer, rather than trying to do this over the
phone, because I can tell it’s gonna be really
problematic trying to do it through the cellphone. I
mean, we've done it with other cellphones before. I
don’t know what this situation is in this case, but
anyway.

ATTORNEY GRAVES:

Okay. We'll try to send you a Zoom
link.

VIDEOGRAPHER STOCK:

Do you wanna go off the record?

ATTORNEY GRAVES:

Oh, yeah. Sorry.

(WHEREUPON, A SHORT BREAK WAS TAKEN.)

VIDEOGRAPHER STOCK:

Good morning. We are going on the
record. Current date is August 10th, 2021. Please
note that the microphones are sensitive and may pick

up whispering, private conversations, and cellular

 

 

 

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interference. Please turn off cellphones or place
them away from the microphones as they can interfere
with the deposition audio. Audio and video recording
will continue to take place until all parties agree to
go off the record. This is the media unit one of the
video-recorded deposition of Rella Moon, in the matter
of Constance Collins v. Tri-state Zoological Park of
Western Maryland, et. al. This deposition is being
held at Hampton Inn, Cumberland, located at 109 Welton
Drive, Cumberland, Maryland, 21502.

My name is Jacob Stock from the firm
Veritext. I am the videographer. The court reporter
is Bernadette from the firm Veritext. I’m not related
to any party in this action nor am I financially
interested in the outcome. Present are counsel and
all present in the room and everyone attending
remotely will now state their appearances and
affiliations for the record.

ATTORNEY GRAVES:

My name is Zeynep Graves, and I am
counsel for plaintiffs, People for the Ethical
Treatment of Animals, Ine. and Constance Collins. And
I'm joined in person by my colleague, James Arselius,
who is also counsel for plaintiffs, and joining by

Zoom is my co-counsel, Caitlin Hawks, also counsel for

 

 

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Page 11

plaintiffs. Mr. Young, would you like to introduce
yourself?

THE WITNESS:

Nevin?

ATTORNEY YOUNG:

Yes.

THE WITNESS:

Would you like to introduce yourself?

ATTORNEY YOUNG:

This is Nevin Young, for all the
defendants in the case.

VIDEOGRAPHER STOCK:

At this time, the court reporter may
swear in the witness.

COURT REPORTER:

Ms. Moon, please raise your right hand.
Do you swear or affirm that the testimony you’re about
to give will be the truth, the whole truth, and
nothing but the truth, so help you God?

THE WITNESS:

I do.

COURT REPORTER:

Thank you.

RELLA MOON,

 

 

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CALLED AS A WITNESS IN THE FOLLOWING PROCEEDING, AND
HAVING FIRST BEEN DULY SWORN, TESTIFIED AND SAID AS

FOLLOWS:

EXAMINATION
BY ATTORNEY GRAVES:
Q. Can you state and spell your full name for the
record?
A. Rella Moon, R-E-L-L-A M-0-O-N.
Q. I’‘’ll provide a brief overview of the deposition
process, as a refresher. I will be asking you

questions, and the court reporter will transcribe what
I say and your answers. Your answers will be given
under oath, subject to penalty of perjury, the same as

if you were testifying in a court room. Do you

understand?
A. Yes.
Q. Your responses to my questions must be verbal.

Nodding or shaking your head is not sufficient, as
gestures can be difficult for the court reporter to
transcribe. If at any time today, you don’t
understand one of my questions, in whole or in part,
please tell me. I will explain it to you or rephrase

the question. If you answer my question without

 

 

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Have you had any communications with Mr. Young?
No.

And where do you currently reside?

- Oo Pf

10105 Cottage Inn Lane Northeast, Apartment 3,
Cumberland, Maryland 21502.

And are you still living there rent-free?
Well, I work for my rent, yes.

But you don’t pay any monies for the property.
That’s correct.

And are you currently employed?

No, I’m disabled.

oP OP OP 8

And have you been employed anywhere since you

were deposed on May 8th, 2018 in the ---

A. No.

Q. --- Endangered Species Act matter?

A. I’m sorry. No.

Q. And how long have you been volunteering at Tri-

State Zoo?

A. About 14 years.

Q. And on May 8th, 2018, you testified that you were
not required to work a certain amount of hours at the

Zoo. Is that still the case?

A. That’s correct.
Q. And on May 8th, 2018, you testified that you did
not have a regular schedule at the zoo. Is that still

 

 

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Page 16
the case?
A. I don’t remember saying that, so no. I go in the
mornings, I feed. I’m there by 10:00 a.m.
Q. Are you free to come and go as you please when

you volunteer?

A. Yes.

QO. So, do you have a consistent schedule at the zoo?
A. I try to keep one, yes.

QO. And what’s that schedule look like?

A. From anywhere from six days a week from 10:00 to
5:00

Q. And which days are you in there from 10:00 to
5:00.

A. I’m off on Friday, so. But living there, I’m

there all the time.

QO. So, you’re on the premise all the time, but
you’re not volunteering at the zoo all the time,
correct?

A. Well, I guess you can say that. I watch the zoo

when I’m not working.

Q. Are you tending to the animals when you’re not
working?

A. No.

Q. So, are you at the zoo six days a week, you said?
A. I’m volunteering six days a week, unless I’m

 

 

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needed. Then I will go down.

Q. And approximately how many hours per day?

A. 10:00 to 5:00.

Q. Seven hours per day?

A. Mm-hmm. Unless I‘m tired, then I leave early.

Q. And on average, how many days a week do you leave
early?

A. One, two, maybe.

Q. And how early would you leave on those days?

A. 3:00 at the latest --- or earliest. It’s usually

around 3:00.

Q. Do you provide notice in advance?
A. Yes.
Q. And do you provide notice in advance if you

cannot volunteer on a particular day?

A. Yes.

Q. Are you free to take days off from volunteering
whenever you would like?

A. Yes.

Q. And what protocol do you follow, if any, if you
were unable to attend your volunteer shift?

A. Well, I’d call Mr. Candy, and if he can either
find a volunteer, or I will, if I was the one, who can
take my place for that day.

Q. Are you required to provide notice to Mr. Candy?

 

 

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A. Am I required? No. But do I out of respect?
Yes.
Q. And are you required to provide notice in advance
to any other zoo staff?
A. No.
QO. What is the protocol followed, if any, if someone
does not show up for their volunteer shift?
A. We find someone else.
Q. And who is responsible for finding someone else?
A. Well, that depends. I mean, if I find someone,
or Mr. Candy, or another volunteer comes in. So, it

basically falls on the zoo to find a volunteer.

Q. Are you aware of any instances in which a
volunteer just didn’t show up for their shift?

A. No.

Q. Are there times when you were the only volunteer
present at the zoo?

A. Yes.

Q. Can you give me an example of a time when you
were the only volunteer present at the zoo?

A. An example, like there might be a day when Mr.
Candy isn’t in yet, and I’1ll work for a couple hours
until he gets in.

Q. And how many times a week would you say you may

be the only volunteer at the zoo?

 

 

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Page 19
A. I can’t say how many days because it doesn’t
happen --- I’m never really alone. Mr. Candy may, if

I go in at 10:00, he shows up by 10:30 or 11:00.
Q. So, would you be the only volunteer at the zoo

for an hour in the morning?

A. Yes.

Q. And is that a regular occurrence?

A. No.

Q. Are there times when you and one other person are

the only volunteers present at the zoo?

A. You mean like if Mr. Candy has to leave or
something like that? Yes.

Q. How many days per week would there only be two
volunteers at the zoo, for example?

A. That there would only be two? I guess six days
that I can vouch for.

Q. How many volunteers are usually present at the
zoo when it is open to the public?

A. Well, got me, my brother, Mr. Candy. Sometimes,
Diane comes in. I’d say three to five.

QO. And who is Diane?

A. She’s just a friend who comes in and keeps me
company, basically, and helps me. Like, say I need to
have a cat box cleaned; she’ll clean my cat box, or

feed my cats.

 

 

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QO. And what’s Diane’s last name?
A. I do not know.
Q. How long has Diane been volunteering at the zoo?
A. I couldn’t answer that either because I don’t
know.
Q. Do you know approximately how long?
A. Four years.
Q. So, other than letting you stay rent-free at the

apartment, has Mr. Candy compensated you in any way

for the work that you perform at the zoo since May of

2018?
A. Money-wise, no. He compliments me on my work.
Q. Has he compensated you in any way? Have you

received anything in exchange for your work with the

Zoo?

A. No.

Q. Have you received meals in exchange for your
work?

A. No.

Q. Have you received any training in animal care

Since your May 8th, 2018 deposition?

A. Training, just --- no.

Q. Have you received any training in how to prevent
zoonotic diseases since your May 8th, 2018 deposition?

A. Training, no. I go by what the vet tells us.

 

 

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Q. Have you received any instructions related to the

animals at Tri-State since your May 8th, 2018

deposition?
A. I’m sorry. Repeat that.
Q. Have you received any instructions related to the

animals at Tri-State since your May 8th, 2018

deposition?

A. Like what kind of instructions?

Q. Ms. Moon, just wait until I finish my question
before you jump in. So, I’m asking you; have you

received any type of instructions?

A. No, I guess not. No, just what I do every day.
Q. So, your routine now is the same as it was prior
to your deposition in ---

A. For the last 14 years, yes.

Q. Have you received any instructions related to

animal feeding or nutrition since your last

deposition?
A. No.
Q. Have you received any instructions related to

providing animals with fresh water since your last

deposition?
A. No.
Q. Have you received any instructions related to

cleaning animal enclosures since your last deposition?

 

 

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Page 22
A. No.
Q. How about removing leftover food?
A. No. I’m kinda guess I’m not understanding that,
where you keep asking me if I’m receiving
instructions. It’s a daily routine, so.
Q. I’m just trying to determine whether you’ ve

received any instructions or training since your last
deposition, anything.

A. Right. It’s all been the same for 14 years.

Q. Is it fair to say then that you haven't received
any training or instruction related to the heating of

any animal enclosures at Tri-State?

A. Since the July 8th?
QO. Since the
A. No, the heating instructions go with, also with

the feeding and everything. You know what to do.

Q. Okay. So, can you explain what training or
instructions relating to heating of the animal
enclosures you’ve received?

A. I have to keep the reptile house at 90 degrees or
above. I keep the fireplaces going. I keep heat

lamps on them, make sure that the temperatures stay

the way they’re supposed to be.

Q. Okay. We‘ll talk about those heat lamps and the

wood furnaces shortly. Does Tri-State have any

 

 

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protocol regarding how to set the temperatures in any

of the animal enclosures?

A.
Q.
A.

Q.

Just how I just explained.
Is there any written protocol?
No, it’s instructions from the owner.

So, have you received any training or

instructions regarding the use of propane at Tri-

State?
A.
Q.
A.

Q.

I don’t use propane.
Have you ever?
Propane, personally? No.

Do you know if any Tri-State volunteers have

received any training or instructions regarding the

use of propane at Tri-State?

A.
Q.
A.

Q.

Regarding the use? No. It’s not to be used.
Has it ever been used?
I do believe so, by Mack and Lynn Maguire.

And do you know if Mack or Lynn Maguire had ever

received any training or instruction regarding the use

of propane?

A.
Q.
A.

Q.

I do not know.
Do you ever interact with guests?
All the time.

Did guests have to adhere to any protocols

related to COVID-19 in 2020 or 2021?

 

 

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Page 44

Is that still the case?
A. Correct.
Q. Are you responsible for feeding the Capuchin
monkey and the squirrel monkey?
A. I am.

ATTORNEY GRAVES:

I apologize. We can go off the record

so the witness can get a sweater.

THE WITNESS:

You can wait until it comes back on, if
you want. Then I’1ll run outside.

ATTORNEY GRAVES:

Let’s just go off the record now.

THE WITNESS:

I‘m sorry. My hands are like icicles.

(WHEREUPON, A SHORT BREAK WAS TAKEN.)

BY ATTORNEY GRAVES:

Q. I just wanna remind you that you’re under oath
still. Before the break, we were --- I had asked you
if you were still responsible for feeding the Capuchin
monkey and squirrel monkeys, and you said yes,
correct?

A. Correct.

 

 

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Q. What are the primates fed?
A. Fruits and vegetables, monkey biscuits, and

really, that’s it. And again, treats once ina while.

Q. Is their food intake monitored in any way?

A. I know how much they eat per day, yes.

Q. How do you monitor their food intake?

A. How much is left in the bowl.

Q. Do you document what remains in the bowl?

A. No.

Q. Can you describe how the primates are fed?

A. Describe. I put it into a bowl and I feed them.
Q. Where is that bowl placed in their enclosure?
A. In the Capuchin monkey, it’s on the outside of
his cage, where he reaches through. He has a shelf
for food. The squirrel monkey, it’s inside his cage.
Q. And when you say the Capuchin monkey’s bowl is on

the outside of his cage, can you describe what cage
you're talking about?

His enclosure, his home.

The indoor portion of his enclosure?

Yes.

And where is the bowl placed in there?

- oP Oo

We have an area where it fits right inside the
hole on a shelf.

Q. And he reaches through the bars of his enclosure

 

 

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to access the food?

Yes.

How often is the Capuchin monkey fed?

Daily.

And how often is the squirrel monkey fed?
Daily.

How often do you check on their food dishes?
Usually, by the end of the day.

Would that be once a day?

nnn a

When I put them in, and then when I check at the
end of the day, correct.

Q. What kind of fruits and vegetables are the
primates fed?

A. Same. Watermelon, cantaloupe, peaches, pears,
apples, oranges, lettuce, green beans, carrots,
celery, broccoli, strawberries, blueberries, mangos.
Q. Are the fruits and vegetables, do they come from
the store chopped up already?

A. No, I take care of that.

Q. Is that for all of the fruits and vegetables fed
for the animals?

A. Yes.

Q. Do you ever feed them like salad mixes or
anything like that?

A. Yes.

 

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Page 47
QO. If they’re fed a salad mix, that would come
preprepared, correct?
A. Yes, but that’s mainly --- I just feed the mixes

and stuff, I usually just feed to like the tortoises,
the turtles. They get --- like, if I get some romaine
lettuce, and I chop the romaine off, and I give it to
them.

Q. And when you say you chop the romaine off and

give it to them, are you referring to the primates?

A. All animals, but yes.

Q. Do the primates have any favorite fruits or
vegetables?

A. Oh, yeah. Would you like to know which one has

which? All right. The squirrel monkey, his thing is
he likes the mangos, and he likes the oranges, and he
likes the --- what is that one fruit that’s orange?

I‘m trying to think of it. Do you mind if I ask what
that fruit is?

Q. You don’t have --- please don’t ask. You can
just tell me what you know.

A. I don’t remember the name of the fruit, right off

the top of my head. It’s not coming to me. I should

know. I cut it every day.
Q. And how often do they receive their preferred
fruit?

 

 

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A. Every day.
Q. Do they ever pick through their food to eat their
preferred fruits?
A. Oh, sure.
Q. And you said that they’re provided treats. What
kind of treats are they given?
A. The monkeys, maybe some peanuts, some crackers.

Once in awhile, a piece, little piece of pie.
Anything else?

Could be a cake, cookie, same as with everybody.
And what brand of primate biscuits are they fed?

I don’t know the name of them right off.

oP oO PR

Do you do anything to the primate biscuits before
you feed them?

A. The Capuchin monkey, no. The squirrel monkey
gets them soaked in juice.

Q. And are the primate biscuits mixed in with their
other feed?

A. No, separate.

Q. And where are the primate biscuits located in the
squirrel monkey enclosure?

A. There’s a bowl hooked to the outside of the
fence, outside of the cage door, into a bowl.

QO. And the soaked biscuits are in that bowl?

A. Yes.

 

 

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Page 49
Q. And does the squirrel monkey have to reach
through the bars to access those biscuits?
A. Yes.
Q. Are you responsible for removing uneaten food
from the primates’ enclosures?
A. Yes.
Q. Can you describe how you removed any food from
their enclosures?
A. Well, with Dodger, he goes in. Mr. Candy goes in

with Dodger and gets any food from the outside, and I

clean the outside. I mean, inside, and I do the
outside.
Q. So, is it your responsibility to clean or remove

uneaten food from Dodger’s enclosure?
A. Yes.
QO. And how often is uneaten food removed from the

primates’ enclosures?

A. Daily, if there’s something that they might not
like.

QO. And when is it removed?

A. It depends. Sometimes I might remove it that

evening, depending on how much they’ve eaten.
Sometimes I don’t remove it until the morning.
Q. And when you do remove the food, what are you

doing?

 

 

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Page 50
A. Taking the bowls out, dumping them, cleaning
them, putting them away, redoing it.
Q. Anything else?
A. No, I just clean up the area.
Q. And what you do mean by cleaning up the area?
A. Just say there was food particles, I had to pick
them up.
Q. Are you responsible for providing the primates
with any supplements?
A. No.
Q. Have you seen Mr. Candy administer any
supplements?
A. The squirrel monkey does get Cosequin, so I have

to redo myself on that. I do give the squirrel monkey

Cosequin for arthritis per vet.

Q. How often do you give the squirrel monkey
Cosequin?

A. He gets it daily.

Q. How much do you provide him?

A. I don’t have an exact amount. I mean, I take a

pill and it lasts me three days. So, I don’t have an
exact amount. I dip it in whatever I’‘m gonna feed
him, and I hand it to him.

Q. Is it in liquid form?

A. Powder.

 

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Page 51
Q. And can you describe how you dose one pill over
three days?
A. His body weight, according to what I’m told. It

goes by body weight and how much to give him, how long
the pill should last me.

Q. Can you describe how you go about dividing that
out over three days?

A. Yeah. I put it into a bottle, little plastic
container, and I dip the food into it.

And the powder sticks on the food?

Oh yeah.

And then what do you do?

I hand it to him.

Do you do anything else?

= oP OP 8

No.

Are you responsible for providing the primates
with drinking water?

A. Yes, partly. That falls on all the volunteers.
Q. And who is responsible for providing the primates
with drinking water?

A. Myself, Mr. Candy, and any volunteer that may

show up that day.

Q. And how do you provide the primates the drinking
water?
A. A hose.

 

 

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Page 52
Q. Do you put the hose in their enclosure?
A. Yes. Then when I do the foxes, I use a jug. So,
there’s different methods to doing it.
Q. And do you leave the hose running in the primate
enclosure?
A. Until it’s full.
QO. Until what’s full?
A. The water jug, the container, the trough.
Q. Can you describe the water jug in Dodger’s
enclosure?
A. Can I describe it? He has a water bottle up on

the top, which I fill. Then there’s a bucket on the
bottom which I fill, a metal bucket.
Q. And can you describe the water jug in the

squirrel monkey’s enclosure?

A. Yes, he has a water bottle and then a bowl of
water.

QO. And the bowl of water is filled with that hose?
A. No. The hoses I need for like the field animals.

Basically, it’s the only time I use the hose, is in
the field animals. Everything else, I carry.

Q. So, earlier, you said you use the hose to provide
drinking water to the primates. Is that ---
A. Well, I didn’t mean --- I didn’t hear you say the

word primate.

 

 

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Page 53
Q. Are you responsible for cleaning the primates’
enclosures?
A. Spaz, yes. Now Dodger, only the outside.
Q. Can you describe how you clean Spaz’s enclosure?
A. How I clean it, I vacuum his carpet off. I wipe

down his shelf. I change his blanket when he needs

it, and then do the windows.

Q. How often do you change the blanket?

A. Every couple days, depends on how bad he’s gotten
it.

Q. And what shelf do you wipe off?

A. He has a plastic round shelf right here, and then

a sleeping shelf, and I wipe them off. I wipe off the
Shelf where his biscuits are, and yeah, that’s it.
Unless I go outside, then you wash off his slide and
his little play toys.

Q. Are the indoor and outdoor portions of Spaz’s

enclosure cleaned on the same day?

A. Yes.

Q. Do you share space with Spaz when you’re in
there?

A. No, he goes outside or he comes inside. Wherever
I’m at, he’s not --- he doesn’t --- I don’t hold him,
no.

Q. But are you in the same enclosure with him?

 

 

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Page 54
A. No, he’s either outside when I’m inside, or
inside when I’m outside.
Q. And is there a mechanism that you use to lock him
out?
A. I have a door, mm-hmm.
Q. And how do you shift Spaz from indoor to outdoor?
A. I go outside; he goes inside. He runs inside.
Q. Do you do anything else to clean the outdoor

portion of his enclosure?

A. Just keep the grass pulled.

Q. And can you describe how ---

A. Put mulch in there.

QO. You add mulch to his enclosure?

A. On the outside, on the grass.

Q. Are you responsible for cleaning Dodger’s
enclosure?

A. Only the exterior.

Q. And can you describe how you clean the exterior

of his enclosure?
A. Wipe down the shelf where all the food, where all
the monkey biscuits are, sweep, and wipe down the

shelf where his food is.

QO. And the shelf where his food is, that’s outside?
A. No. His enclosure, you have an outside enclosure
here, and then you have an inside enclosure. His bowl

 

 

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is on the inside enclosure, hooked to his cage.
Q. And so, when you said you're responsible for

cleaning his outside enclosure, did you really mean

A. Outside the cage. I do not go in his cage.
Q. Okay. So, you’re responsible for cleaning the
portion of --- the indoor portion of his enclosure

that he doesn’t have access to?
A. Correct.
Q. So, you don’t clean inside Dodger’s house or the

outdoor portion of his enclosure?

A. That’s correct.

Q. And who’s responsible for cleaning Dodger’s
enclosure?

A. Mr. Candy.

Q. Does Dodger ever come inside the indoor portion

of his enclosure while you’re in there cleaning?
A. Yes. But if you're asking me if he’s coming out
of his cage, no, he’s in his inside of his home. He

doesn’t come out.

Q. So, there’s a barrier in between you and Dodger?
A. Oh, yes, ma’ am.

Q. Do you ever interact with the primates?

A. The best I can.

Q. Can you describe how you interact with Spaz?

 

 

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Page 56
A. I talk to hima lot. I give him toys.
Q. What kind of toys do you give Spaz?
A. Well, he gets balls. He gets little things I

might hang from the ceiling, like a mirror, ora

chain, like a plastic chain. Outside, I think I gave
him a ball.

Q. On how many occasions have you done that?

A. I’ll change it when he needs it changed, but

otherwise, I’ll wipe it down.

Q. How often do you introduce new toys to his
enclosure?

A. Once a month maybe.

Q. When was the last time you added a new ball to

Spaz’s enclosure?

A. Last month.
Q. How about a new plastic chain?
A. No. I believe what I gave him was a little

whiffle ball last month.
QO. And the time before that, when was ---
A. Oh gosh. I mean, he’s got toys. What was it the

time before that?

Q. That you introduced ---

A. It was probably the chain, the chain that I gave
to him.

Q. And approximately when was that?

 

 

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Page 57
A. Probably about a month before that.
Q. And do you ever interact with Dodger?
A. I act silly with him, but I don’t really go near

him. Like, he turns his head; I turn my head, and he

turns; I turn. We play.

Q. Do you interact with him in any other way?
A. No.
Q. Have you ever seen the written enrichment plans

for Dodger?

A. No.
Q. How about the written enrichment plan for Spaz?
A. Do you mean enrichment by what they’re eating,

yes, but as far as like medicines, no, I don’t deal
with any of that.

Q. Have you seen ---

A. We have a list on what the animals would eat and
don’t eat, how much vitamins are in each one.

QO. Where is that list located?

A. With me, but I keep it in a drawer at the kitchen
at the zoo.

Q. Can you explain what is on that list?

A. The vitamins, how much each fruit and vegetable
might have, what’s high in vitamin C, what’s high in
-- I don’t know, what’s that vitamin, B, I think. I’m

not sure what the vitamin thing is. I can’t think

 

 

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Page 58
right now. But it tells me what each one is that is
high in. Sometimes, I have to look at it, and
sometimes I don’t.

Q. Does it document how much you’re supposed to feed
to each animal?

A. No.

QO. So, it just has the nutritional content of
certain fruits on there?

A. Correct.

Q. Anything else?

A. No.

Q. You said something about vitamins. That was just

in reference to the nutritional content of the fruit?
A. And to the content, right, of the list.

Q. So, other than that piece of paper, have you ever
seen any written documents for Dodger or Spaz?

A. No.

Q. Have you ever received any instructions about
what enrichment to provide Dodger or Spaz?

A. I’ve been there 14 years, so I learn something
new every day. So, as far as the enrichment, Mr.

Candy may say, "Okay. Well, he should have more of
this one or less of that."

Q. Can you give me an example of something Mr. Candy

has instructed you?

 

 

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Page 59

A. More greens than what I was giving.
Q. And other than food, has Mr. Candy provided you

with any instruction about enrichment?

A. No.

Q. Does Dodger have a pet cat?

A. Yes.

QO. And what’s the cat’s name?

A. Miss Kitty.

Q. And is Miss Kitty the Bengal cat?

A. No.

QO. And where does the cat live?

A. Just around the Zoo.

Q. So, Miss Kitty is free roaming?

A. Correct.

Q. Does she have access to the inside of Dodger’s
enclosure?

A. That I couldn’t --- yes, and not inside-inside,
to my knowledge, but inside where I go. Sometimes

she'll follow me, and he’1ll reach out and pet her once
in a while.

Q. Is Miss Kitty ever locked into that indoor area
of Dodger’s enclosure?

A. Locked into it? I couldn’t tell you.

QO. Other than the door in which you enter, is there

any like cat door to that building?

 

 

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Page 60
A. No.
Q. Do any of the other zoo animals have pet cats?
A. No.
Q. How long has Miss Kitty been at the facility?
A. I don’t know. Four years.
Q. And do you know if she’s received any
vaccinations?
A. I believe so, but again, I don’t do the
paperwork.
Q. Have you ever taken Miss Kitty in to receive her
vaccinations?
A. No.
Q. So, you don’t know one way or the other if she’s

gotten her vaccinations?

She just went to the vet.

When did she go to the vet?

I don’t remember the exact date.

Did you --- do you know who

Mr. Candy took her.

And what was she brought to the vet for?
Checkup.

Do you know which vet she was brought to?

I do not know. I think it was North Shore.

war OP OP Ole;

Do the primates have access to the outdoor

portion of their enclosures all year round?

 

 

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Page 61
A. Well, not really. Dodger, yes, but Spaz, he
likes the heat.
Q. So, when is Spaz locked in the indoor portion of
his enclosure?
A. When it becomes like 50 degrees or below at
night.
Q. Do you recall approximately when he was locked in
the indoor enclosure last year?
A. Not exact date, no.
Q. Do you know the month?
A. When it got cold.
Q. Do you know when he was given access to the
outdoor portion of his enclosure?
A. When it got warm.
Q. Do you know the approximate date?
A. I don’t know dates. I go by weather.
Q. And who is responsible for monitoring the weather

and determining when Spaz will be locked in the indoor

portion of his enclosure?

A. Mr. Candy.

Q. Can you describe how the primate enclosures are
heated?

A. Fireplace.

Q. Is Dodger’s enclosure heated by a fireplace?

A. It is.

 

 

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Page 62

Q. There’s a fireplace in his enclosure?
Underneath, yes. No, I’m sorry. That’s outside.

That one is outside his house in the back.

Q And by fireplace, do you mean woodburning stove?
A I do

Q. And the

A And he has a heat lamp.

Q And who tends to the woodburning stove during the
day?

A. All the volunteers who’s there during the day.

Q. And who tends to the woodburning stove at night?
A. I do

Q. How many times do you have to tend to that stove?
A. Every three to four hours.

Q. So, you’re responsible for waking up ---

A. I am.

Q. --- in the middle of the night every three to

four hours?

A. That’s correct.

Q. And do you use pellets or ---

A. Wood.

QO. What kind of wood?

A. Trees. I don’t know the difference between the
wood.

Q. Do you know if it’s hardwood or soft wood?

 

 

 

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Page 63
A. I don’t know anything about trees.
Q. Approximately how many pieces of wood do you put
in the woodburning stove at one time?
A. At one time? 10-12. It’s a big one.
QO. And then ---
A. Could’ ve sworn I turned that thing off. Three
times already, my phone won’t go off.
Q. And can you describe how Spaz’s enclosure is
heated?
A. Spaz has a fireplace, a wood stove also.
QO. And is that ---
A. And a heat lamp.
Q. And is that wood stove located under the reptile
A. Underneath.
QO. --- house?
A. That’s correct. And there’s a big vent. I’d say
about a 3-4’ vent that it comes up.
QO. And where’s that vent located?
A. Like in the middle.
Q. In the middle of the reptile house?
A. When you walk in, there’s another room, and then
you go in here, and then there’s another room. Then

it’s, I’d say it’s about 10’, maybe 15’ from the

monkey .

 

 

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Page 64
Q. Is it in the same portion of the reptile house
that the other reptiles are located?
A. It is.
Q. And who is responsible for tending to the stove
in the reptile house during the day?
A. Whoever’s down there.
Q. And who’s responsible for tending to it at night?
A. I am.
Q. And how many times a night do you tend to that
stove?
A. Every three to four hours.
Q. And how many pieces of wood can you put in that
stove?
A. 10-12.
Q. Other than the reptiles and the primates, are any

of the other animals at Tri-State provided with heat?

A. Yes.

QO. Which animals?

A. Well, we bring the alligators in. Coatimundis
come in. Let me think a minute. The alligators,
coatimundis, they come in. The skunk, he’1ll come in.

The raccoon has a heat lamp, as does the birds.

Q. The raccoon has a heat lamp?
A. Well, if it gets too cold, yes.
Q. And who’s responsible for turning on the heat

 

 

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Page 65
lamps?
A. Myself or Mr. Candy.
Q. You said both Dodger and Spaz have heat lamps?
A. In the ceiling, yes.
Q. Where are those heat lamps located?
A. In the ceiling.
Q. Which part of the enclosure?
A. On the inside.
Q. And how often are those bulbs changed?
A. As needed.
Q. How do you determine that the bulbs are in need

of changing?

A. It goes out.
Q. So, they’re changed once they go out?
A. Mm-hmm. Somebody’s got a dog.

ATTORNEY YOUNG:

Oh, yeah. I thought I was on mute.
Sorry.

THE WITNESS:

That’s all right.

ATTORNEY YOUNG:

The postal, the mail just got here.

THE WITNESS:

Oh.

BY ATTORNEY GRAVES:

 

 

 

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Federal Rules of Civil Procedure

Rule 30

(e) Review By the Witness; Changes.

(1) Review; Statement of Changes. On request by the
deponent or a party before the deposition is
completed, the deponent must be allowed 30 days
after being notified by the officer that the
transcript or recording is available in which:

(A) to review the transcript or recording; and

(B) if there are changes in form or substance, to
Sign a statement listing the changes and the
reasons for making them.

(2) Changes Indicated in the Officer's Certificate.
The officer must note in the certificate prescribed
by Rule 30(f)(1) whether a review was requested
and, if so, must attach any changes the deponent

makes during the 30-day pericd.

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